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                                  No. 24-1947


            UNITED STATES COURT OF APPEALS
               FOR THE SEVENTH CIRCUIT

    PROPERTY CASUALTY INSURERS ASSOCIATION OF AMERICA,
         Plaintiff-Appellant,

    v.

    ADRIANNE TODMAN, ACTING SECRETARY OF THE DEPARTMENT
    OF HOUSING AND URBAN DEVELOPMENT AND UNITED STATES
    DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT,
         Defendants-Appellees.


                    Appeal From the United States District Court
                        for the Northern District of Illinois
                              Case No. 1:13-cv-08564
                  The Honorable Chief Judge Rebecca R. Pallmeyer


      BRIEF OF AMICUS CURIAE STATE OF IDAHO ex rel. DIRECTOR DEAN
  CAMERON, IDAHO DEPARTMENT OF INSURANCE; STATE OF MONTANA ex
   rel. COMMISSIONER TROY DOWNING, OFFICE OF THE MONTANA STATE
    AUDITOR; STATE OF LOUISIANA ex rel. COMMISSIONER TIM TEMPLE,
     LOUISIANA DEPARTMENT OF INSURANCE; STATE OF GEORGIA ex rel.
     COMMISSIONER JOHN F. KING, OFFICE OF THE COMMISSIONER OF
INSURANCE AND SAFETY FIRE; STATE OF SOUTH DAKOTA ex rel. DIRECTOR
    LARRY DEITER, SOUTH DAKOTA DIVISION OF INSURANCE; STATE OF
      OKLAHOMA ex rel. COMMISSIONER GLEN MULREADY, OKLAHOMA
          INSURANCE DEPARTMENT; STATE OF NORTH DAKOTA ex rel.
    COMMISSIONER JOHN GODFREAD, NORTH DAKOTA DEPARTMENT OF
 INSURANCE; STATE OF MISSISSIPPI ex rel. COMMISSIONER MIKE CHANEY,
MISSISSIPPI DEPARTMENT OF INSURANCE; STATE OF OHIO; STATE OF IOWA
 ex rel. COMMISSIONER DOUG OMMEN, IOWA INSURANCE DIVISION; STATE
 OF NEW HAMPSHIRE et rel. COMMISSIONER DAVID J. BETTENCOURT, NEW
       HAMPSHIRE INSURANCE DEPARTMENT; STATE OF ALABAMA et rel.
COMMISSIONER MARK FOWLER, ALABAMA DEPARTMENT OF INSURANCE

SUPPORTING APPELLANT PROPERTY CASUALTY INSURERS ASSOCIATION
              OF AMERICA AND URGING REVERSAL



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August 21, 2024




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                        IDENTITY OF INTERESTS OF THE AMICI STATES

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Commissioner John F. King, Georgia Office of the Commissioner of Insurance and Safety Fire;

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Mulready, Commissioner of the Oklahoma Insurance Department; Commissioner John Godfread,

Commissioner of the North Dakota Department of Insurance; and Commissioner Mike Chaney,

Commissioner of the Mississippi Department of Insurance; Commissioner Douglas Ommen, Iowa

Insurance Commissioner; Commissioner of the New Hampshire Insurance Department; and

Commissioner of Alabama Department of Insurance are authorized under their respective State

constitutions and laws to regulate and tax the business of insurance within their States. In addition,

the State of Ohio regulates insurance through its Department of Insurance, and the Attorney

General represents the Department. As such, they offer this Court a state-level view of insurance

regulation and a clear perspective on the Department of Housing and Urban Development’s

(“HUD”) Disparate Impact Rule (“Rule”), including the Rule’s substantial, unnecessary,

unworkable, and unrealistic interference with risk-based pricing and underwriting of homeowners

insurance in contravention of the McCarran-Ferguson Act, 15 U.S.C. §§ 1011-1015 (“McCarran-

Ferguson”) and this Court’s decision in Doe v. Mutual of Omaha Insurance Co., 179 F.3d 557 (7th

Cir. 1999).

                            INTRODUCTION AND BACKGROUND

       These amici curiae, responsible for regulating insurance within their respective States, join

this appeal by the Property Casualty Insurers Association of America (“PCI”) because Congress

has assigned to the several states the authority and responsibility to regulate the business of
                                                                                                    1
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insurance and to protect insurance consumers under McCarran-Ferguson. According to this

Court’s decision in Mutual of Omaha, McCarran-Ferguson reverse preemption has special force

as applied to actuarial determinations under state law.

        Risk-based pricing and underwriting of homeowners insurance fundamentally functions by

applying neutral and objective actuarial factors and analyses to arrive at rates which correspond to

the risks being transferred from insureds to insurers. No State sanctions rates which are inadequate,

excessive, or which unfairly discriminate by treating risks which are alike unequally. And, of

course, actuarial practice does not and should not consider race or other protected characteristics

in arriving at rates.

        Based upon the authority of the Fair Housing Act, 42 U.S.C. § 3601 et seq. (“FHA”)—a

federal law not specifically related to insurance for purposes of McCarran-Ferguson—in 2013,

HUD’s Rule established federal liability for neutral practices having a discriminatory effect. PCI

challenged the Rule, and in 2014, the district court initially determined the Rule was arbitrary and

capricious as applied to risk-based pricing and underwriting of homeowners insurance.

        However, in 2023, HUD reinstated the Rule, which PCI continues to challenge, including

on the basis that it violated McCarran-Ferguson and Mutual of Omaha. Addressing the reinstated

Rule, the district court below concluded that an expansive reading of Mutual of Omaha requires

the conclusion that “the act of assessing whether an insurer’s practices are ‘actuarially sound and

consistent with state law’ itself violates McCarran- Ferguson, full stop.” Prop. Cas. Insurers Ass’n

of Am. V. Todman, 2024 U.S. Dist. LEXIS 53688, *37 (N.D. Ill. March 26, 2024). Facing deep

skepticism whether a disparate-impact claim challenging risk-based practices could ever be viable,

Saunders v. Farmers Insurance Exchange, 537 F.3d 961, 967-98 (8th Cir. 2008), and concluding

that parsing subjective judgments from objective ones “runs perilously close to what Mutual of

Omaha forbids[,]” the district court nevertheless concluded that McCarran-Ferguson preemption
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should be addressed in highly-fact intensive, case-by-case adjudications in the federal courts. 2024

U.S. Dist. LEXIS at *24-25, *26-33. An appeal by PCI followed.

                                  SUMMARY OF ARGUMENT

       HUD’s Rule, as applied to risk-based pricing and underwriting of homeowner’s insurance,

entangles HUD, private litigants, and the federal courts in matters central to the States’ regulatory

authority over the business of insurance. This interference is very substantial. It ignores state-based

consumer protections already in place and invites HUD and the federal courts to second-guess and

ultimately overrule actuarial determinations required or permitted in every State. The Rule

encourages costly and complex litigation which will drag state insurance regulators into federal

litigation. The Rule also adds regulatory uncertainty via federal oversight over actuarial

determinations and consumer protections which state regulators are capably addressing under

McCarran-Ferguson. The federal act upon which HUD’s Rule is predicated—the FHA—does not

specifically relate to insurance. As such, according to McCarran-Ferguson and this Court’s

decision in Mutual of Omaha, this extraordinary exercise of federal regulatory authority is

preempted.

       Having initially determined in 2014 that HUD’s Rule was arbitrary and capricious,

following reinstatement of the Rule in 2023, the district court wrestled with the arguments from

HUD and the Illinois amici advocating case-by-case adjudication of McCarran-Ferguson

preemption. But the issue is not whether some states welcome this because of their own fair

housing laws or policies but whether HUD’s Rule interferes with or impairs state regulatory

authority under McCarran-Ferguson and Mutual of Omaha, and it clearly does. Congressional

recognition of state regulatory authority comes with a responsibility that cannot be abrogated to

HUD and federal courts. Congress has respected and entrusted the states to regulate insurance and

neither HUD nor any of the Illinois amici argued or submitted evidence below that the states are
                                                                                                     3
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incompetent to handle and enforce their fair housing laws or risk-based pricing and underwriting.

Consumers of homeowners insurance are protected by state regulation and HUD’s Rule is just

actuarially second-guessing by another name.

        The Rule violates Congressional intent as clearly expressed in McCarran-Ferguson and as

correctly applied in Mutual of Omaha. Consequently, as applied to risk-based pricing and

underwriting of homeowner’s insurance, HUD’s Rule should be deemed preempted, and the

district court’s contrary determination should be reversed.

        I.       McCarran-Ferguson Embodies Congress’s Considered Determination that the
                 Regulation of the Business of Insurance and Protection of Consumers of
                 Insurance is in the Public Interest.

        State insurance regulators formed what is now the National Association of Insurance

Commissioners (“NAIC”), a standard-setting organization for insurance regulation, in 1871.1

When the Supreme Court of the United States ruled that insurance was considered interstate

commerce and thus subject to Congressional oversight in 1944,2 Congress passed McCarran-

Ferguson in 1945,3 broadly granting preemption to state insurance laws with limited exceptions

for federal laws specifically regulating insurance. According to McCarran-Ferguson, “regulation

. . . by the several states of the business of insurance is in the public interest[.]” 15 U.S.C. § 1011.

        Having entrusted the regulation of the business of insurance to the several states,

Congressional silence does not give rise to implied federal agency authority to regulate insurance.

Id. Yet HUD has chosen to regulate the business of homeowners insurance under the authority of




1
  The NAIC is extremely active with national meetings, public and industry input, and enforcement coordination across
the country: https://content.naic.org/150-timeline.
2
  United States v. South-Eastern Underwriters Association, 322 U.S. 533 (1944). Prior to this decision, it was widely
believed that the federal government was excluded form insurance regulation after Paul v. Virginia, 75 U.S. 168
(1868).
3
  15 U.S.C. §§ 1011-1015. It should be noted that Congress acted quickly to cure the issue; U.S. v. South-Eastern
Underwriters Association, 322 U.S. 533 (1944), was decided in June 1944, and by March 1945, McCarran-Ferguson
enshrined state-based consumer protection laws.
                                                                                                                   4
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the FHA—a federal law not specifically related to insurance. HUD’s Rule allows HUD and the

federal courts to second guess and potentially reverse decisions made under the State-based system

on grounds not tied to true insurance risk or within rating classes that have been reviewed and

approved or sanctioned by state insurance departments. HUD’s rule undermines state consumer

protections through ratemaking reviews, sidesteps actuarial and underwriting realities, and

threatens rate adequacy and insurance markets by displacing neutral and objective risk-based

pricing and underwriting with data and analyses tied to race. HUD’s Rule was created in

contravention of McCarran-Ferguson and the fundamental realities of how homeowner’s

insurance works and how it has functioned for more than a century.

       One set of state insurance consumer protections involves fair ratemaking based on

objective, risk-based factors, applying actuarial science and the expertise of actuarial professionals

whose credentialing requires that they adhere to sound actuarial principles. See Casualty Actuarial

Society, Statement of Principles Regarding Property & Casualty Insurance Ratemaking 2 (May

1988), https://tinyurl.com/3dthyzh. Risk-based pricing and underwriting of homeowners insurance

requires that rates not be inadequate or excessive. Rates also must not be unfairly discriminatory,

i.e., risks which are alike must be treated equally. These consumer-protection principles, which

guide actuarial practices nationwide, are either required or permitted in every state. Plitt et al.,

Couch on Insurance § 2:31 (3d ed. June 2024 Update); Appellant’s Opening Brief, Appendix at

336-341. States do not allow rates to be inadequate because doing so threatens actuarial soundness,

the financial integrity of insurers, and the insurance marketplace. States do not allow rates to be

excessive because that threatens the affordability and availability of insurance. And, of course, the

States require like risks to be treated equally. Every State has passed laws patterned after NAIC’s

Model 880, which defines unfair trade practices to include discriminatory practices by companies,



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including discrimination based on racial and other protected legal classifications.4 When HUD

reinstated its Rule, it of course made clear that no State allows or could lawfully allow homeowners

insurance rates or underwriting to be based on protected class considerations or racial

discrimination. Reinstatement of HUD”s Discriminatory Effects Standard, 88 Fed. Reg. 19,450,

19,469 (March 31, 2023) (to be codified at 24 C.F.R. 100). The States, exercising the trust and

responsibility accorded them by Congress, have consumer protections in place which address the

same area regulated by HUD’s Rule. Undermining state regulation in this area interferes with the

current, effective state-based insurance regulation acknowledged time and again by Congress to

be within the purview of the States. And because the Rule invites HUD and the federal courts to

step into the shoes of the States regarding actuarial determinations central to state regulatory

authority, HUD’s Rule is contrary to this Court’s decision in Mutual of Omaha.

         II.      The Rule Invites HUD and the Federal Courts to Second-Guess Actuarial
                  Pricing and Underwriting Practices.

         Homeowner’s insurance by function and definition must afford equal treatment to like risks

based on objective and neutral factors applying actuarial science. All states sanction risk-based

pricing and underwriting practices. Appellant’s Opening Brief, Appendix. at 336-341. Yet HUD’s

Rule invites HUD and the federal courts to scrutinize, second-guess, and ultimately judge the

sound actuarial practices required or permitted by all States.5 Step two of the Rule requires an

insurer to prove that its risk-based pricing or underwriting practices are necessary to achieve one


4
  https://content.naic.org/sites/default/files/model-law-880.pdf. Section 4 defines unfair trade practices to include
discriminatory ratemaking; Section 4(G)(4) through (9) specifically call out property risks like those addressed in the
HUD Rule.
5
  Moreover, state courts, rather than federal courts, should substantively address whether McCarran-Ferguson reverse
preemption applies. See Ojo v. Farmers Group, Inc., 600 F.3d, 1201, 1204-05 (9th Cir. 2010) (en banc) (certifying the
McCarran-Ferguson issue to the Supreme Court of Texas). The 9th Circuit recognized that determining whether FHA
claims of disparate impact violated relevant and applicable state law should be determined at the state level. HUD’s
Rule inverts this holding by allowing federal courts to make the relevant determination concerning a matter
presumptively in state domain. HUD’s Reinstatement, 88 Fed. Reg. at 19,450, 19,474.


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or more substantial, legitimate, nondiscriminatory interests. HUD’s Reinstatement, 88 Fed. Reg.

at 19,451. Such proof will necessarily involve the actuarial soundness of the challenged practices.

To claim that a federal court can determine that a risk-based pricing practice has a relationship to

a business interest without analyzing the actuarial soundness of the challenged practice presents a

conundrum. Nowhere has HUD offered a solution to this problem, and the lower court’s opinion

side-steps it by focusing solely on the third step of HUD’s burden shifting framework. 2024 U.S.

Dist. LEXIS at *39 (7th Cir. 2024). Further, step three of the burden-shifting framework, if the

insurer satisfies step two, enables HUD or other plaintiffs to prevail if it is proven that substantial,

legitimate, nondiscriminatory interests supporting the challenged practice can be served by another

practice that has a less discriminatory effect. HUD’s Reinstatement, 88 Fed. Reg. at 19,451. This

too will, of course, necessitate examination of actuarial data, methods and soundness.

        Although this framework necessarily involves the federal courts in actuarial review, that

intrusion is itself without foundation under Texas Department of Housing & Community Affairs v.

Inclusive Communities Project, Inc., 576 U.S. 519 (2015). As PCI argues, Inclusive Communities

cabins disparate impact to racial disparities that defendants themselves create. Id. at 542. And

because rates are required to accurately reflect risks, “[a]ny resulting disparate impact is

attributable to the state law, not a disparity that the insurer created.” Appellant’s Opening Brief at

57, Property Casualty Insurers Association of America v. Adrianne Todman, No. 24-1947 (7th Cir.

Aug. 14, 2024). “Disparate-impact liability mandates the ‘removal of artificial, arbitrary, and

unnecessary barriers,’ not the displacement of valid governmental policies.” Inclusive

Communities, at 540 (quoted case omitted). The Rule attempts to regulate the primary elements of

an insurance contract: “spreading and underwriting of a policyholder’s risk.” Group Life & Health

Ins. Co. v. Royal Drug Co., 440 U.S. 205, 211 (1979). Allowing a federal regulation, not



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specifically related to the business of insurance, to govern the principal elements of an insurance

contract strikes at the heart of McCarran-Ferguson.

       HUD, when it reinstated its discriminatory effects standard, effectively conceded that its

Rule will entangle the federal courts in these actuarial considerations. HUD’s Reinstatement, 88

Fed. Reg. at 19,461, 19,467, 19,475 (stating that adjustments can be made if practices have a

discriminatory effect and that alternative actuarially sound practices should be put in place).

Attempting to show that actuarial second-guessing might comport with McCarran-Ferguson,

HUD has asserted that the evidence in a disparate impact suit might establish that a given insurer

has already considered an actuarially sound but less discriminatory alternative. Id. at 19,476. All

of this, of course, is contrary to this Court’s decision in Mutual of Omaha. According to McCarran-

Ferguson and Mutual of Omaha, a federal statute may not be construed to “impair any law enacted

by any State for the purpose of regulating the business of insurance . . . unless such Act specifically

relates to the business of insurance.” 179 F. 3d at 563, citing 15 U.S.C. § 1012(b) (internal quotes

omitted). Like the federal ADA at issue in Mutual of Omaha, the FHA does not specifically relate

to insurance; and, like the nondiscrimination provision of the ADA, HUD’s Rule interferes with

or impairs the States’ insurance regimes and laws. Cf., 179 F.3d at 563-64.

       Risk-based pricing and underwriting practices for homeowner’s insurance are based on

actuarial practices designed to achieve rates which are not inadequate (threatening solvency and

therefore the availability of insurance coverage), excessive (threatening affordability), or unfairly

discriminatory (treating like risks unequally). This is the central focus of homeowners insurance

rates and a fundamental concern of state insurance regulators, which is interfered with and

impaired when HUD and the federal courts become emmeshed in evaluating and judging

homeowners’ insurance rates and underwriting practices. As this Court observed in Mutual of

Omaha, it is not the business of HUD or the federal courts to regulate the insurance industry,
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specifically and especially including judging actuarial soundness or compliance with state law. Cf.,

179 F.3d at 564. When HUD reinstated the Rule, it stated that it disagreed with Mutual of Omaha,

opining that it was not obliged to follow the decision of a single appellate court regarding a rule

having “nationwide effect. . . .” HUD’s Reinstatement, 88 Fed. Reg. at 19,476. Mutual of Omaha,

however, is binding authority in this Circuit.

        III.    The Rule and Case-by-Case Application of it Gives Rise to Unnecessary Legal
                Complexity, Regulatory Uncertainty, and Regulatory Costs.

        HUD’s Rule necessarily requires insurers to defend legitimate actuarial determinations

which are reviewed and approved under state law. Because risk-based pricing and underwriting of

homeowners insurance is sanctioned in every State, insurance regulators may well be compelled

to defend their approvals in federal litigation; or, in the case of Illinois, the only state that does not

approve rates prior to filing, to explain or address alleged discriminatory effects through market

conduct examinations or enforcement actions. HUD’s Rule is, after all, federal law and the district

court notably discounted HUD’s attempt to minimize the import of Mutual of Omaha “without

knowing more about how disputes against insurers’ risk-based practices will actually unfold in

practice.” 2024 U.S. Dist. LEXIS at *25. This added federal check on insurers clearly creates

regulatory uncertainty.

        The Illinois amici argued below that to trigger McCarran-Ferguson all that is required is

for a state to say that disparate impact is not their own state’s policy. Dist. Ct. Dkt. 309. If only

state housing laws, HUD’s Rule, and federal regulation and litigation were so simple. HUD states

that “to ensure compliance, a regulated entity may wish to examine whether a facially neutral

policy or practice causes an unjustified discriminatory effect, as defined by the regulation.” It is

difficult to see how a regulated insurer would accomplish compliance without consideration of

protected traits in rating and underwriting. HUD’s Reinstatement, 88 Fed. Reg. 19,450, 19,469.


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But HUD cautions that “self-examination is encouraged.” Id. That presupposes that such federal

encouragement is needed. As discussed above, basing rates or underwriting on protected traits is

flatly illegal in all states. On top of this regulatory uncertainty, the district court’s failure to preempt

HUD’s Rule also imposes unnecessary legal complexity and regulatory costs. Indeed, the decision

below characterizes the McCarran-Ferguson problem resulting from HUD’s Rule as “tricky” and

“costly.” 2024 U.S. Dist. LEXIS at *32, *42, *44. Addressing HUD’s assertion that risk-based

practices involve subjective judgment, the district court initially noted that “expecting federal

courts, rather than state insurance commissioners, to draw this line between subjectivity and

objectivity runs perilously close to what Mutual of Omaha forbids.” 2024 U.S. Dist. LEXIS at *26.

Ultimately, however, the district court concluded that the federal courts should walk this perilous

line and, we respectfully submit, to brazenly cross it by sanctioning the federal courts’ involvement

in parsing out “subjective discretion” because in the district court’s view there probably is “always

some slippage at the margins where subjectivity (and, potentially, bias) creeps in.” 2024 U.S. Dist.

LEXIS at *40-41, citing 88 Fed. Reg. at 19,469. According to the decision below, there are

“countless ways” challenges to insurer’s methods may arise in the future and “[d]rawing this line

will always require highly fact-intensive-analysis.” 2024 U.S. Dist. LEXIS at 41. This federal

regulatory regime is incompatible with McCarran-Ferguson.

        Because the FHA is not specifically related to insurance and is silent regarding disparate

impact of risk-based pricing and underwriting, HUD’s Rule is not owed deference. Loper Bright

Enterprises v. Raimondo, 144 S. Ct. 2244 (2024). The issue is not whether HUD’s Rule might

possibly comply with McCarran-Ferguson, but whether it actually comports with McCarran-

Ferguson. According to the text of McCarran-Ferguson and this Court’s decision in Mutual of

Omaha, a federal agency Rule striking at the heart of state regulatory authority over the business

of insurance is preempted. It is for the courts, not HUD, to decide the “single, best meaning” of
                                                                                                         10
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federal statutes. Loper, at 2266. Especially considering Loper, the district court’s adoption of

HUD’s highly fact-intensive, case-by-case, approach to adjudication of McCarran-Ferguson

preemption issues—as applied to risk-based pricing and underwriting—is a weak rationale upon

which to avoid McCarran-Ferguson preemption and the correct application of McCarran-

Ferguson as applied to the FHA. The court’s decision also fails to heed Mutual of Omaha’s warning

that if McCarran-Ferguson is not applied, the federal courts will find themselves regulating the

insurance industry. 179 F.3d at 564. As PCI argues on appeal, HUD’s Rule and district court’s

analysis also inject race into housing decisions in contravention of Inclusive Communities, 576

U.S. at 543. Appellant’s Opening Brief, supra, at 60-61. The district court’s decision now calls

upon the federal courts to “sift out objective and necessary risk-based practices from those that are

unsupported by actuarial science or replaceable by a less discriminatory alternative.” 2024 U.S.

Dist. LEXIS at *47. This indeterminate, complex, and ironically subjective assignment of

insurance regulatory authority to HUD and the federal courts cannot be squared with Loper,

Inclusive Communities, McCarran-Ferguson and Mutual of Omaha. As PCI observes, HUD has

also arrogated to itself an authority to “substantially restructure” the insurance industry without

Congressional authorization in contravention of West Virginia v. EPA, 597 U.S. 697, 724 (2022).

Appellant’s Opening Brief, supra, at 27.

       State-regulated insurers who now fall under the purview of HUD’s Rule are well-advised

to pay attention because HUD’s authority is not without teeth. As HUD has pointed out, the

Secretary of HUD is required to immediately issue a charge if there is reasonable cause to believe

a discriminatory housing practice has occurred or is about to occur. HUD’s Reinstatement, 88 Fed.

Reg. at 19,471, citing 42 U.S.C.§ 3610(g)(2)(A). Although risk-based pricing does not facially

consider protected characteristics, all of this regulatory oversight is justified, according to HUD,

because it is “possible” for plaintiffs to prove discriminatory effects and less discriminatory
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alternatives in the context of risk-based pricing and underwriting. HUD’s Reinstatement, 88 Fed.

Reg. at 19,472. HUD also suggests that its Rule encourages insurers to review “publicly available

datasets or studies . . . to see if their practices cause or predictably will cause a discriminatory

effect.” Id. at 19,480. This suggestion inherently requires an insurer to review their actuarial

determinations for disparate impact, demonstrating the Rule’s encroachment into state regulation.

Although HUD claims the Rule does not require insurers to collect demographic data, it cautions

that even in the inapposite lending industry collection of demographic data and self-testing does

not absolve lenders of potential liability. Id. at 19,480-81.

       The regulatory uncertainty caused by the Rule is exacerbated by the case-by-case approach

embraced by HUD and district court, which will encourage a hodgepodge of federal court rulings,

adding legal complexity and uncertainty to federal court proceedings wherever such suits are

brought. McCarran-Ferguson, and the federalism principles upon which it is based, should not be

construed in this way. HUD emphasizes that the FHA was intended to apply nationwide, while

ignoring that McCarran-Ferguson also applies broadly to preclude a construction of a federal law,

not specifically related to insurance, that impairs “any law enacted by any state . . . .” 15 U.S.C. §

1012(b) (emphasis added). McCarran-Ferguson applies across the “the laws of the several states.”

15 U.S.C. § 1012(a). Congress has given the states--all states--regulatory authority over the

business of insurance unless it decides to enact federal legislation specifically related to insurance.

And, as this Court concluded in Mutual of Omaha, “[e]ven if the formal criteria [for actuarial

soundness] are the same under federal and state law, displacing their administration into federal

court—requiring a federal court to decide whether an insurance policy is consistent with state

law—obviously would interfere with the administration of state law.” 179 F. 2d at 564 (emphasis

in original). Here, HUD’s interference with risk-based pricing and underwriting of homeowners

insurance is likewise obvious.
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           The Mutual of Omaha holding is also supported by Humana Inc. v. Forsyth, 525 U.S. 299

(1999). Mutual of Omaha relies on Humana, 179 F.3d at 564, which addressed the narrow question

whether RICO’s remedial provisions were consonant with McCarran-Ferguson, 525 U.S. at 305.

That some states have similar housing policies dodges the McCarran-Ferguson issue. HUD’s and

the district court’s fact-intensive or case-by-case framework is just a federal license to second-

guess state-based actuarial practices and decisions. Humana did not concern actuarial practices

central to state regulatory regimes. Congress’s recognition of the States’ substantive authority over

the business of insurance comes with a regulatory responsibility which cannot be abrogated away

to HUD and the federal courts.

           IV.      HUD’s Rule Undermines Insurer Solvency, a Primary Concern of State-Based
                    Regulation.

           Beyond the McCarran-Ferguson reverse preemption and undermining of state-based

regulation, a fundamental responsibility of state insurance regulators is to ensure insurance

company solvency through comprehensive regulation, including the establishment of rates that are

not inadequate. State insurance regulators have model regulations enacted in every state regarding

the receivership and winddown of insurance companies which cannot file for federal bankruptcy6

but must be conserved, rehabilitated, or liquidated at the state level alone. Rates, of course, are a

critical component of solvency and the stability of insurance markets.

           Due to the foregoing, rates must be based on neutral risk and loss-based factors and

actuarial analyses rather than protected classes. The risk of house fires, leaking or broken pipes,

wildfires, floods, hurricanes or tornadoes need to be based on neutral, objective, risk and loss data

and actuarial science considering countrywide, regional, state and local data. If rates are inadequate

the financial integrity of insurers is jeopardized. This is not hypothetical. The business of


6
    11 U.S.C. § 109(b)(2).
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homeowners insurance fundamentally requires rates or premiums which accurately measure and

predict losses and risks. HUD’s Rule actually undermines one of its primary goals of ensuring the

affordability and availability of homeowners insurance. HUD’s Rule makes this already difficult

task--a state regulatory responsibility under McCarran-Ferguson--more difficult to achieve.

       HUD and the Illinois amici argued below that HUD’s Rule merely reinforces or

compliments the fair housing laws of some states with little or no impact on state regulatory

authority. However, the interference here is real and substantial. The fair housing laws of the States

do not require or allow rating or underwriting practices for homeowners insurance that treat alike

risks differently. And, as PCI points out, the purported “panoply” of decisions supporting case-by-

case adjudication of McCarran-Ferguson issues cited by HUD and the Illinois amici, and relied

upon by the district court, involve inapposite claims handling and other practices, are

distinguishable, and do not support running afoul of McCarran-Ferguson. Appellant’s Opening

Brief, supra, at 45-47. Even states that employ disparate impact liability in the insurance context

will still face the prospect of having their actuarial decisions second-guessed. This, according to

Mutual of Omaha, contravenes McCarran-Ferguson even when the state and federal criteria are

the same. Mutual of Omaha, 179 F.3d at 564; Appellant’s Opening Brief, supra, at 50-51. Unlike

the cases relied upon by the district court, this case concerns whether HUD’s Rule interferes with

or impairs risk-based pricing and underwriting, applying neutral, objective factors and actuarial

methods and science. As such, according to Mutual of Omaha, the Rule is preempted by

McCarran-Ferguson.

                                          CONCLUSION

       For the reasons stated above, these amici curiae, responsible for the regulation of insurance

within their States, urge this Court to reverse the district court’s decision and preserve this

insurance regulatory authority to the States, where, according to Congress, it belongs.
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     Respectfully submitted this 21st day of August, 2024.

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 August 21, 2024




                             CERTIFICATE OF COMPLIANCE

       This brief complies with the type-volume limitation of Circuit Rule 32(c) in that, according

to the word-count function of the word-processing system used to generate the brief (Microsoft

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       On August 21, 2024, I filed the foregoing using the CM/ECF system, which effected

service on all registered counsel.


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